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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-    -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   _y

                                                                                                                                                  MEMORANDUM OPINION AND
In re:                                                                                                                                                   ORDER

                         TERRORIST ATTACKS ON                                                                                                       03 MDL 1570 (GBD) (FM)
                         SEPTEMBER 11, 2001


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This document relates to:

Ashton v. al Qaeda Islamic Army, 02-cv-6977 (GBD) (FM)

Federal Insurance Co. v. al Qaida, 03-cv-6978 (GBD) (FM)



GEORGE B. DANIELS, District Judge:

                         On December 28, 2015, Magistrate Judge Maas issued a Report and Recommendation

concerning the motions of certain plaintiffs in Ashton v. al Qaeda Islamic Army, 02-cv-6977

(GBD) (FM) ("Ashton") and Federal Insurance Co. v. al Qaida, 03-cv-6978 (GBD) (FM)

("Federal Insurance") for assessments of damages in relation to certain categories of their claims

against Iran. (Report and Recommendation ("Report"), (ECF No. 3175).) In particular, those

applications sought an assessment of damages in favor of the wrongful death plaintiffs in Ashton

    solely as to the pre-death conscious pain and suffering components of their claims, and an

assessment of damages in favor of certain of the Federal Insurance plaintiffs relative to their

property damage claims.

                         The Report recommended that each of the Ashton plaintiffs should be awarded $2 million

for their decedents' conscious pain and suffering, plus an additional $6.88 million in punitive

damages, for a total of $8.88 million per estate, and, a collective default judgment in the amount

    of $7,556,880,000.                                       (Id. at 3.)                         With regard to the Federal Insurance plaintiffs, the Report

recommended they be awarded a default judgment in the amount of $3,040,998,426.03. (Id.at 9.)

    The Report also recommended that to the extent that the plaintiffs' claims arise out of injuries in
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New York State, they should be awarded prejudgment interest at the statutory simple interest rate

of nine percent per annum from September 1, 2001, though the date judgment is entered. (Id. at

9-10.)    To the extent that the claims arise out of injuries occurring elsewhere, the Report

recommended awarding interest for the same period at the rate of 4.96 percent per annum,

compounded annually should this Court deem annually compounded interest appropriate. (/d. at

10.)

         The Report advised that failure to object within fourteen days would preclude appellate

review. (Id.)   The plaintiffs in Havlish, et al. v. bin Laden, et al., 03-cv-9848 (GBD) (FM)

("Havlish") and Hoglan, et al. v. Islamic Republic of Iran, et al., l l-cv-7550 (GBD) (FM)

("Hoglan") timely filed objections to the awards recommended in favor of seven estates that are

plaintiffs in the Ashton case, on the grounds that those estates are also plaintiffs in the Havlish or

Hoglan actions. (Rule 72(b) Objections of the Havlish and Hoglan Plaintiffs, (ECF Nos. 3192-

3193).) Counsel for the Ashton, Havlish, and Hoglan plaintiffs have resolved the potential dual

recovery issues amicably, and this Court has since issued an Amended Order of Judgment

addressing the issue. (See Amended Order of Judgment, (ECF No. 3226).) No other objections

have been filed.

         Courts "may accept, reject, or modify, in whole or in part, the findings and

recommendations" set forth within a magistrate judge's report. 28 U.S.C. § 636(b)(l); Fed. R.

Civ. P. 72(b)(3). Courts must review de nova the portions of a magistrate judge's report to which

a party properly objects. 28 U.S.C. § 636(b )(1 ); Fed. R. Civ. P. 72(b )(3). If clear notice has been

given of the consequences of failure to object, and there are no objections, the Court may adopt

the R&R without de nova review. See Mario v. P & C Food Mkts., Inc., 313 F.3d 758, 766 (2d

Cir.2002) ("Where parties receive clear notice of the consequences, failure timely to object to a

magistrate's report and recommendation operates as a waiver of further judicial review of the

magistrate's decision."). The Court will excuse the failure to object and conduct de nova review

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if it appears that the magistrate judge may have committed plain error.          See Spence v.

Superintendent, Great Meadow Corr. Facility, 219 F .3d 162, 174 (2d Cir. 2000). No such error

appears here. This Court adopts the findings and recommendation set forth in the Report in their

entirety, as amended. (See Amended Order of Judgment, (ECF No. 3226).)

                                       CONCLUSION

        The Ashton plaintiffs are awarded a default judgment against Iran in the amount of

$7,494,720,000. The Federal Insurance plaintiffs are awarded a default judgment against Iran in

the amount of $3,040,998,426.03.



       Dated: March 9, 2016
       New York, New York

                                                                RDERED:

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